                  Case 1:11-cv-03521-SCJ Document 58 Filed 06/04/13 Page 1 of 2




                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF GEORGIA
                                        ATLANTA DIVISION

              LAURA M. D’ELIA,
                              Plaintiff,                   CIVIL ACTION FILE
                  v.                                       NO. 1:11-CV-3521-SCJ-JFK
              THYSSENKRUPP ELEVATOR
              CORPORATION,
                              Defendant.

                                     ORDER FOR SERVICE OF
                              FINAL REPORT AND RECOMMENDATION

                   Attached is the report and recommendation of the United States Magistrate

             Judge made in this action in accordance with 28 U.S.C. § 636(b)(1) and this Court's

             Local Rules LR 73 and LCrR 58.1. Let the same be filed and a copy, together with a

             copy of this Order, be served upon counsel for the parties.


                   Pursuant to 28 U.S.C. § 636(b)(1), each party may file written objections, if any,

             to the report and recommendation within fourteen (14) days of the receipt of this

             Order. Should objections be filed, they shall specify with particularity the alleged

             error or errors made (including reference by page number to the transcript if

             applicable) and shall be served upon the opposing party. The party filing objections

             will be responsible for obtaining and filing the transcript of any evidentiary hearing for




AO 72A
(Rev.8/82)
                  Case 1:11-cv-03521-SCJ Document 58 Filed 06/04/13 Page 2 of 2




             review by the district court. If no objections are filed, the report and recommendation

             may be adopted as the opinion and order of the district court and any appellate review

             of the factual findings will be limited to a plain error review. United States v. Slay,

             714 F.2d 1093 (11th Cir. 1983), cert. denied, 464 U.S. 1050, 104 S. Ct. 729, 79 L. Ed.

             2d 189 (1984).

                   The clerk is directed to submit the report and recommendation with objections,

             if any, to the district court after expiration of the above time period.

                   SO ORDERED THIS 3rd day of June, 2013.




                                                         2



AO 72A
(Rev.8/82)
